                                                               Case 2:21-cv-08461-VAP-MAA Document 8 Filed 11/17/21 Page 1 of 1 Page ID #:94




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                                                                6

                                                                7                           UNITED STATES DISTRICT COURT
                                                                8        CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
                                                                9
                                                                    VERMONT AVENUE FEE               Case No.: 2:21-cv-008461-VAP-MAAx
                                                               10   OWNER LLC, a Delaware
                                                                    Limited Liability Co.,           ORDER
DENNIS P. BLOCK & ASSOCIATES




                                                               11
                                                                               Plaintiff;
                                                               12
                               5437LaurelCanyonBoulevard




                                                                         v.
                                                               13
                                                                    DESTINY CARRERA,
                                                               14
                                                                               Defendant.
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                                                               17             Upon reading the application of Plaintiff, and it appearing to
                                                               18      the Court that good cause exists for the granting thereof,
                                                               19             After having considered the application of the Plaintiff, and it
                                                               22      appearing to the satisfaction of this court that good cause appears therefore:
                                                               23             IT IS ORDERED that the application be, and it hereby is,
                                                               24      GRANTED, and that Plaintiff’s Ex Parte Application to remand is
                                                               25      GRANTED; and that this case be remanded back to the Los Angeles
                                                               26      County Superior Court, Stanley Mosk Courthouse from whence it came.
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                                                                       IT IS SO ORDERED.

                                                               28      Dated: 11/17/21
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